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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                   CASE NO.: 1:18-cv-20582-KMW

  SILTEK GROUP, INC., a Florida corporation,)
  and SILTEK GROUP, INC., on behalf of and  )
  as assignee of METRO SOUTH SENIOR         )
  APARTMENTS LIMITED PARTNERSHIP,           )
                                            )
         Plaintiff,                         )
                                            )
  v.                                        )
                                            )
  TERRACON CONSULTANTS, INC., a             )
  foreign corporation,                      )
                                            )
         Defendant.                         )
  __________________________________________)

                                        AMENDED COMPLAINT

          Plaintiff, SILTEK GROUP, INC., a Florida corporation (“SILTEK”), pursuant to this Court’s

  Scheduling Order of April 3, 2018 and Fed. R. Civ. P. 15, files this Amended Complaint against Defendant,

  TERRACON CONSULTANTS, INC., a foreign corporation (“TERRACON”), and alleges:

                                    JURISDICTION AND VENUE

          1.      This is an action for damages in excess of $75,000.00, exclusive of attorney’s fees

  and costs, with diversity pursuant to 28 U.S.C. § 1332(a)(2).

          2.      Venue is proper as the United States District Court for the Southern District of

  Florida is the United States District Court for the state court where this action was originally

  commenced.

                                             THE PARTIES

          3.      Plaintiff, SILTEK GROUP, INC. (hereinafter “SILTEK”) is a Florida for profit

  corporation with its principal place of business in the State of Florida. SILTEK is the general
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  contractor for the Project.

         4.      Defendant, TERRACON CONSULTANTS, INC. (hereinafter ‘TERRACON”) is

  a foreign corporation with its principal place of business in the State of Kansas, and is authorized

  to do business in the State of Florida and in fact is doing business in Miami-Dade County, Florida.

  TERRACON provided geotechnical services for the Project.

         5.      Metro South Senior Apartments (hereinafter the “Project”), located at 6101 Sunset

  Drive, South Miami, FL 33143, is a five-story assisted living facility for seniors.

         6.      On or about February 10, 2014, non-party, Metro South Senior Apartments Limited

  Partnership (“Metro”) and SILTEK entered into a contract whereby SILTEK agreed to construct

  the Metro South Senior Apartments in exchange for payment.

         7.      On or about February 1, 2012, TERRACON and Metro executed a Task Order

  agreement whereby TERRACON would provide geotechnical services to the Project. Said Task

  Order was issued in the name of Metro, under a Master Services Agreement between TERRACON

  and the parent company of Metro.

         8.      TERRACON issued report(s) that stated the Project could be “dewatered” by

  utilizing well points. The report(s) and services were misleading and/or failed to adequately advise

  the Owner and Contractor of dewatering limitations for the Project.

         9.      Plaintiff, SILTEK and non-party Metro justifiably relied upon TERRACON’S

  expertise, opinions, and directions.

         10.     Due to the lack of salinity in the ground water, the Department of Environmental

  Resources Management (“DERM”), the governing authority, refused to issue a permit for

  dewatering wells.

         11.     Defendant, TERRACON was notified of DERM’s refusal to issue said permit.




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          12.     Plaintiff SILTEK and non-party Metro were unable to dewater the Project as

  planned and were forced to utilize a “tremie plug foundation system” to control the water

  infiltrating at the site during construction.

          13.     As a direct result of TERRACON’s errors and/or omissions, Plaintiff SILTEK and

  non-party Metro have suffered significant damages.

          14.     Plaintiff and non-party Metro’s respective damages resulting from TERRACON’S

  errors and/or omissions include, but are not limited to, additional construction costs, additional

  design costs, delay damages, cost escalation, acceleration costs, loss of the contingency fund, lost

  profits, additional interests on loans, and liquidated damages.

          15.     On January 29, 2015, Metro assigned to SILTEK all right, title, and interest in and

  to all causes of action that have accrued against TERRACON arising from the services rendered

  by TERRACON in connection with the Project.

               COUNT ONE - NEGLIGENCE ASSERTED ON BEHALF OF
            METRO SOUTH SENIOR APARTMENTS LIMITED PARTNERSHIP

          16.     Paragraphs 1 through 15 above are reincorporated as if fully set forth herein.

          17.     TERRACON had a duty to Metro to provide accurate information and reports

  regarding the subsurface conditions at the Project and the dewatering of the Project site.

          18.     TERRACON breached that duty by providing inaccurate and/or misleading

  information as to the dewatering of the site, or in the alternative, failed to perform additional work

  necessary to properly advise Metro regarding dewatering limitations.

          19.     TERRACON’s errors and/or omissions with respect to the dewatering issue fall

  below the standard of care in South Florida.

          20.     TERRACON knew that Metro would rely upon its opinions, reports and expertise

  with respect to dewatering the project site.



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         21.     TERRACON’s duty to perform the services skillfully and diligently runs to the

  benefit of Metro pursuant to the task order.

         22.     Metro has suffered and continues to suffer damages as a result of TERRACON’S

  negligence.

         WHEREFORE, Plaintiff, SILTEK GROUP, INC., on behalf of and as assignee of Metro

  South Senior Apartments Limited Partnership, respectfully requests this Court enter Judgment in

  its favor for all damages incurred as a result of TERRACON’s negligence.

                   COUNT TWO – NEGLIGENCE ASSERTED BY SILTEK

         23.     Paragraphs 1 through 15 above are reincorporated as if fully set forth herein.

         24.     TERRACON had a duty to SILTEK to provide accurate information and reports

  regarding the subsurface conditions at the Project and the dewatering of the Project site.

         25.     TERRACON breached that duty by providing inaccurate and/or misleading

  information as to the dewatering of the site, or in the alternative, failed to perform the additional

  work necessary to properly advise SILTEK regarding dewatering limitations.

         26.     TERRACON’s errors and/or omissions with respect to the dewatering issue fall

  below the standard of care in South Florida.

         27.     TERRACON knew that SILTEK would rely upon its opinions, reports and

  expertise with respect to dewatering the Project site.

         28.     TERRACON’s duty to perform the services skillfully and diligently runs to the

  benefit of such known third parties such as SILTEK.

         29.     SILTEK has suffered and continues to suffer damages as a result of TERRACON’s

  negligence.

         WHEREFORE, SILTEK respectfully request this Court enter Judgment in its favor for all




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  damages incurred as a result of TERRACON’S negligence.

                                  DEMAND FOR JURY TRIAL

        Plaintiffs demand trial by jury of all issues so triable.

                                                        Respectfully submitted,

                                                        THE SOTO LAW GROUP
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